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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 17-60907-CIV-MORENO/SELTZER


  FEDERAL TRADE COMMISSION, et al.,

        Plaintiffs,

  v.

  JEREMY LEE MARCUS, et al.,

        Defendants.

                                                                /

                            REPORT AND RECOMMENDATION

         THIS CAUSE has come before the Court upon the Receiver’s Motion to compel

  PNC Bank, N.A. (“PNC”) to comply with subpoenas, for sanctions, and for related relief

  (“the Motion”) (D.E. 357). The Motion was referred to the undersigned for a Report and

  Recommendation (D.E. 367).

         On June 5, 2019, the undersigned conducted a hearing on the Motion. After

  consideration of all the arguments and having reviewed the briefs and related documents

  filed by both parties, the undersigned issues the following report and recommendation:

         The undersigned recommends that the Receiver’s Motion to Compel be DENIED,

  having been filed beyond the thirty (30) day period prescribed by Local Rules. See S.D.

  Fla. L.R. 26.1(g)(1). Further, the Receiver has failed to establish that the discovery sought

  is relevant and proportional to the needs of this case. Federal Rule of Civil Procedure 26

  limits the scope of discovery as follows:

         Parties may obtain discovery regarding any nonprivileged matter that is
         relevant to any party’s claim or defense and proportional to the needs of the
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         case, considering the importance of the issues at stake in the action, the
         amount in controversy, the parties’ relative access to relevant information,
         the parties’ resources, the importance of the discovery in resolving the
         issues, and whether the burden or expense of the proposed discovery
         outweighs its likely benefit. Information within this scope of discovery need
         not be admissible in evidence to be discoverable.

  Fed. R. Civ. P. 26(b)(1).

         In response to PNC’s objection to the breadth and relevance of the subpoenaed

  materials, the Receiver wrote, “So what?” (DE 365: 3). The undersigned takes this written

  argument, together with his statement at the discovery hearing that Federal Rule 26 is

  subservient to his broad mandate to recover the assets of the “Receivership

  Defendants,” 1 as an acknowledgement that his discovery requests were not relevant to

  the present dispute between the parties in this case. Moreover, on the eve of the

  discovery hearing, the Receiver indicated that he filed a new lawsuit against PNC to

  recover the assets of the Receivership Defendants. The undersigned finds that the

  purposes of Rule 26 would not be served by duplicative discovery in this case, even if

  otherwise appropriate, given the Receiver’s access to that same information in the new

  lawsuit through ordinary discovery procedures.

         For the foregoing reasons, the undersigned respectfully RECOMMENDS that the

  Motion to Compel (DE 357) be DENIED. The parties will have fourteen (14) days from the

  date of being served with a copy of this Report and Recommendation within which to file

  written objections, if any, with the Honorable Federico A. Moreno, United States District

  Judge. Failure to file objections timely shall bar the parties from a de novo determination

  by the District Judge of an issue covered in the Report and shall bar the parties from



  1       The Receiver later withdrew this particular comment but still failed to substantially
  articulate the proportionality and relevance of the discovery sought.
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  attacking on appeal unobjected-to factual and legal conclusions contained in this Report

  except upon grounds of plain error if necessary in the interest of justice. See 28 U.S.C. '

  636(b)(1); Thomas v. Arn, 474 U.S. 140, 149 (1985); Henley v. Johnson, 885 F.2d 790,

  794 (1989); 11th Cir. R. 3-1 (2016).

        DONE AND SUBMITTED in Chambers, Fort Lauderdale, Florida, this 11th day of

  June 2019.




  Copies furnished via CM/ECF to:

  Hon. Federico A. Moreno
  Counsel of record
